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UNITED sTATEs DISTRICT COURT
WESTERN DIsTRICT oF TENNESSEE JUL 0 8 2005

Eastern Dlvlslon Th M_ Gould, mem

U. S. Dlstrlc‘l Coun
UNITED STATES OF Al\/IERICA W- D- OF TN. Jackson
-vs- Case No. 1:05cr10033-002T

SCOTTY MOSIER

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL

' The F ederal Publie Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
- All purposes including trial and appeal

DONE and ()RDERED in 111 South Highland, Jackson, this Sth day of July, 2005.

Cs'a;»m@)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States l\/larshal

Pretrial Services Off`ice

Assistant Federal Publie Defender

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 1:05-CR-10033 Was distributed by faX, mail, or direct printing on
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S. Drake Martin
SPENCER & MARTIN
202 W. Baltimore Street
.lacl<son7 TN 38301

.lerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
.lacl<son7 TN 38301

Clayton F. Mayo

THE MAYO LAW FIRM
P.O. Box 7505

.lacl<son7 TN 38302--750

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

.lacl<son7 TN 38301

Honorable .l ames Todd
US DISTRICT COURT

